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Diamond Select Toys & Collectibles, LLC                 Case No. 25-10312
Statement of Operations                                            Mar-25

                                                  Diamond Select Toys &
                                                     Collectibles, LLC

Revenue
 Sales - Wholesale                                $              306,522
 Sales - Webstore                                                 79,537
Total Sales                                                      386,058

Cost Of Sales
 Manufacturing                                                    39,652
 Fulfilment                                                       35,643
Total Cost Of Sales                                               75,295

Gross Profit                                                     310,763

Selling, General, and Administrative
 Bank Fees                                                           686
 Other Admit Cost                                                 40,638
 Salaries & Payroll Taxes                                         94,084
Total G&A Costs                                                  135,408

Net Income (Loss)                                                175,356
